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             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA
                  Case No. 8:20-cv-2184-MSS-SPF

MELANIE MOORE

      Plaintiff,

v.

POOCHES OF LARGO, INC.
d/b/a PETLAND &
LUIS MARQUEZ,

     Defendants.
_____________________________________/

           DEFENDANTS’ RESPONSE IN OPPOSITION
       TO PLAINTIFF’S MOTION TO DISQUALIFY COUNSEL

      Pursuant to Local Rule 3.01, Defendants Pooches of Largo, Inc.

& Luis Marquez hereby file their Response in Opposition to Plaintiff’s

January 12, 2021 Motion to Disqualify Defendants’ Counsel. [D.E.

18]. Ms. Moore’s motion is both factually and legally frivolous. She

has filed, as D.E. 1-1, extensive communications between her and

her former counsel, between her former counsel and undersigned

counsel, and between her and undersigned counsel – she has done

this to accuse her former attorney, Richard Cellar, of legal

malpractice, to accuse the Defendants of having bribed Mr. Cellar to
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drop her as a client, and to accuse undersigned counsel of unspecific

professional misconduct.

      1.   As explained in the Defendants’ comprehensive Motion to

Dismiss and/or Motion to Strike, [D.E. 19], Ms. Moore worked for

Defendant Pooches of Largo for three weeks in August 2018. Her

employment ended when she realized she was being paid $8.45 an

hour, and not $35,000 annually.           This alleged $1,400.00 wage

discrepancy is at the heart of this federal lawsuit. Ms. Moore’s 200-

page, 13-count Complaint is entirely meritless. Her own attorney

advised her she had a very weak case worth no more than a few

thousand dollars. (Sadly, he simultaneously made a $70,000 demand

to the Defendants). He then fired her as a client and she has been

unable to obtain a new attorney since she was dropped as a client in

May 2019.

      2.   Undersigned counsel first learned of Melanie Moore when

her then-attorney, Richard Cellar, sent a demand letter to the

Defendant. It was passed along to counsel for a response.

Undersigned counsel responded to Mr. Cellar to explain the lack of a

viable claim. After months of radio silence from Mr. Cellar (between

December 2018 and April 2019), a final set of emails were exchanged
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between counsel for the parties confirming that no settlement would

be reached. These settlement emails and letters were filed in the

public record by Ms. Moore as exhibits to her Complaint.

      3.    Settlement talks ended in May 2019. Despite a threatened

lawsuit, no lawsuit was filed. The Defendants assumed Ms. Moore

was done.

      4.    Almost immediately after settlement talks ended, the

Defendants learned that Ms. Moore started a Facebook page

disparaging the company.

      5.    In response to the Facebook page, undersigned counsel

served a cease-and-desist letter on Ms. Moore through her attorney,

Richard Cellar. In response, Mr. Cellar emailed on June 11, 2019: “I

don’t represent her anymore. You can contact her directly. Don’t

contact me further on this matter.”

      6.    Ms. Moore was served via email with the cease-and-desist

letter personally.    When she did not delete the Facebook page,

Pooches of Largo filed suit against her in Miami-Dade Circuit Court.

      7.    The Miami-Dade lawsuit was served via email but was not

formally served because of her homelessness status. The process
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server never found her. That lawsuit was eventually dismissed

without prejudice for failure to prosecute.

      8.   On the morning of December 4, 2020, the Defendants

learned that the U.S. Marshal was trying to serve a federal lawsuit.

Undersigned counsel pulled the case from PACER and filed an

appearance and waiver. Unbeknownst to undersigned counsel, the

Complaint was served on the Defendants later the same day.

      9.   On January 12, 2021, Ms. Moore moved to disqualify

undersigned counsel. The basis of the motion is not entirely clear,

but Ms. Moore appears to be unhappy that undersigned counsel, on

behalf of the Defendants, refuses to settle and refuses to acknowledge

any merit to the claim.

      10. Undersigned counsel’s exclusive involvement in this

dispute is his long-time service as counsel to the Defendants.

(Undersigned counsel is Petland Florida’s exclusive Florida litigator).

He has no firsthand knowledge of any underlying facts or issues. He

is not a witness and has no intention of being listed or called as a

witness.

      11. Ms. Moore is attempting to disqualify undersigned counsel

solely because he is an effective attorney.
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                         Memorandum of Law

      Without supporting evidence or even a credible narrative, Ms.

Moore is seeking an extraordinary and highly disfavored remedy

simply because undersigned counsel has vigorously represented his

clients who have been adverse to her in two lawsuits for nearly two

years. The law is clear she may not do so:

      The disqualification of one's chosen counsel is an
      extraordinary measure that should be resorted to
      sparingly. The burden of proof to establish grounds for
      disqualification is on the party moving for disqualification.
      An order for disqualification is a drastic means which
      courts should hesitate to impose except when absolutely
      necessary.

Metrahealth Ins. Co. v. Anclote Psychiatric Hosp., 961 F. Supp. 1580,

1582 (M.D. Fla. 1997) (internal citations omitted).

      Ms. Moore alleges an unidentified conflict of interest. She

vaguely alleges that undersigned counsel has a personal interest in

the case.     This is baseless.       Ms. Moore alleges some vague

professional misconduct stemming from his representation of the

Defendants. Ms. Moore appears to be unhappy that the Defendants

have a defense and are defending themselves.
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      Ms. Moore claims in this motion (as well as her Complaint) that

her former attorney, non-party Richard Cellar, represented her poorly

and that his withdrawal somehow precluded her from obtaining new

counsel. She is free to take action against Mr. Cellar, but this is not

a basis to disqualify undersigned counsel.

      She also makes an outrageous allegation that the Defendants

entered into some side agreement with her former attorney Richard

Cellar and that’s why he dropped her as a client. Nothing could be

further from the truth – we told her former lawyer (correctly) that her

case was completely baseless and that we would only offer her $1,500

just to avoid having to deal with it. He didn’t like her case and she

doesn’t want to take $1,500.            This isn’t the Defendants or

undersigned counsel’s problem.

                               Conclusion

      For the reasons stated above, the Plaintiff’s motion to disqualify

should be denied.


                            /s/ Matthew Sarelson
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